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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 Soverain Software LLC,

                Plaintiff,
                                                     Civil Action No. 6:09-cv-00274-RWS
 v.

 J.C. Penney Corporation, Inc.,
 Amway Corp.,
 Avon Products, Inc.,
 Bidz.com, Inc.,
 HSN, Inc.,
 HSN Improvements, LLC,
 Cornerstone Brands, Inc.,
 Ballard Designs, Inc.,
 Garnet Hill, Inc.,
 Smith & Noble, LLC,
 The Territory Ahead, Inc.,
 QVC, Inc.,
 Shutterfly, Inc.,
 Victoria’s Secret Stores Brand Management,
 Inc.,
 Victoria’s Secret Direct Brand Management,
 LLC,
 VistaPrint, Ltd., and
 VistaPrint USA, Inc.

                Defendants.



                                     ORDER OF DISMISSAL

        Came on to be heard this day Soverain Software LLC (“Soverain”) and Avon Products,

 Inc.’s (“Avon”) Stipulation (“Stipulation”), and the Joint Status Report filed by the parties

 regarding the current state of the remaining claims in this case. Having reviewed the Stipulation

 and the Joint Status Report, the Court finds that the following order should issue:
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            In light of the Stipulation, it is ORDERED that the claims between Soverain and Avon

     case are hereby DISMISSED WITH PREJUDICE pursuant to the parties’ stipulation.

            The Court having been advised that Plaintiff Soverain and Defendant Victoria’s Secret
.
     Direct Brand Management LLC have settled their respective claims against each other in this

     case, it is ORDERED that these claims be DISMISSED WITH PREJUDICE pursuant to the

     parties’ agreement.

            As there are no remaining claims in this case by or against any parties, and no remaining

     issues to be decided by the Court, this case is hereby CLOSED. All motions by any party not
     previously ruled on are DENIED.



    SIGNED this 21st day of September, 2015.




                                                      ____________________________________
                                                      ROBERT W. SCHROEDER III
                                                      UNITED STATES DISTRICT JUDGE
